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Attorneys for Yellowstone County ef al

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
BILLINGS DIVISION

Defendants.

ESTATE OF LOREN SIMPSON ef al, )
) Cause No. CV 15-0099-SPW
Plaintiffs, )
)
VS. )
) YELLOWSTONE COUNTY’S
YELLOWSTONE COUNTY et al, ) DISCOVERY RESPONSES
)
)
)

On October 28, 2015, the Estate of Loren Simpson served discovery requests
on Yellowstone County. The County responds to the requests as follows:

INTERROGATORY NO. 1: Please identify--by title, date of promulgation
or adoption, and chapter number, page number, section number or other identifying

characteristic--all policies, procedures, training manuals, and guidelines applicable

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to Yellowstone County Sheriff's Officers pertaining to the incident of January 8,
2015, including but not limited to those applicable to:

(a) the use of road blocks or blockades;

(b) the use of “spike strips” or other devices to disable vehicles;

(c) the use of deadly force; and

(d) requesting civilians to assist in carrying out an investigation.

ANSWER: Enclosed is a copy of the Yellowstone County Sheriffs Office’s
Policy and Procedure Manual, Bates-stamped Nos. 1025-1313.

INTERROGATORY NO, 2: Please identify all employees or other
personnel of the Yellowstone County Sheriff's Office with knowledge of the
incident surrounding the shooting of Loren Simpson, and for each person identified,
set forth a brief summary of the knowledge they possess.

ANSWER: Enclosed is a list of law enforcement witnesses, Bates-stamped
No, 1314,

INTERROGATORY NO. 3: Please identify-—by name, address and phone
number-- any person with knowledge of the incident surrounding the shooting of
Loren Simpson from whom a written or oral statement has been taken, and identify
the date the statement was taken and the substance of the statement that was taken.

ANSWER: Enclosed is a list of non-law enforcement witnesses, Bates-

stamped No. 1315.

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INTERROGATORY NO. 4: Please identify any disciplinary action,
reprimands, re-assignment or other action taken by the County against Deputy
Robinson and/or Deputy Rudolph as a result of the shooting of Loren Simpson.

ANSWER: Yellowstone County has not taken any action against either
Jason Robinson or Christopher Rudolph for the shooting of Loren Simpson, On
February 12, 2015, both deputies resigned. That same date, Robinson requested
back (and received) the position that he had previously held at the Yellowstone
County Detention Facility.

REQUEST FOR ADMISSION NO. 1: Please admit that Deputy Robinson
and Deputy Rudolph were told to resign or they would be fired.

RESPONSE: Yellowstone County denies. After investigation into events
leading up to shooting at the vehicle operated by Loren Simpson, both officers were
informed that the county would be initiating disciplinary proceedings, up to and
including termination of employment. Both deputies resigned.

REQUEST FOR ADMISSION NO. 2: Please admit that after Deputy
Robinson and Deputy Rudolph’s vehicle became stuck, they spoke with at least one
teenage resident of the area, exchanged phone numbers with at least one of the
teenagers, and subsequently received a phone call from one of the teenagers
concerning Loren Simpson’s location,

RESPONSE: Yellowstone County admits.

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REQUEST FOR ADMISSION NO. 3: Please admit that prior to the
shooting of Loren Simpson, neither Deputy Robinson nor Deputy Rudolph had any
knowledge that Loren Simpson was carrying or armed with a weapon.

RESPONSE: Yellowstone County admits.

REQUEST FOR PRODUCTION NO. 1: Please produce a complete copy
of all policies, procedures, training manuals, and guidelines applicable to
Yellowstone County Sheriff's Officers as of January 8, 2015, pertaining to the
incident at issue in this case, including but not limited to those applicable to:

(a} the use of road blocks or blockades;

(b) the use of “spike strips” or other devices to disable vehicles;

(c) the use of deadly force; and

(d) requesting civilians to assist in carrying out an investigation.

RESPONSE; See answer to Interrogatory No. 1, documents attached.

REQUEST FOR PRODUCTION NO. 2: Please produce complete and
accurate copies of the personnel files for Deputies Jason Robinson and Christopher
Rudolph, including but not limited to, any evaluation, write-up, disciplinary action,
performance notes, memoranda, or other employment related documents.

RESPONSE: Enclosed are copies of Jason Robinson’s and Christopher
Rudolph’s personnel files from the Yellowstone County Human Resource Office,

Bates-stamped Nos. 1316-1405 and Nos. 1406-1465, respectively.

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REQUEST FOR PRODUCITON NO. 3: Please produce audio or video
recordings and transcripts Gf any have been made) of the events the preceded the
shooting of Loren Simpson, the shooting itself, the investigation of the shooting, any
911 calls, all communications between Deputy Robinson or Deputy Rudolph and
any other law enforcement officer, and any other video or audio recordings made in
connection with the shooting of Loren Simpson on January 8, 2015.

RESPONSE: Yellowstone County has already provided the requested
information to Plaintiff's Counsel — copies of two investigative binders (including
video disks) were sent out on November 9, 2015.

REQUEST FOR PRODUCTION NO. 4: Please produce cell phone
records for Deputy Robinson and Deputy Rudolph for January 8, 2015.

RESPONSE: Sheriffs deputies are not issued County cell phones. Both
Robinson and Rudolph were asked, pursuant to this request, for the information
sought. The County will supplement this response as information becomes
available.

REQUEST FOR PRODUCTION NO. 5: Please produce copies of all
offense reports and arrest records for Loren Simpson, including but not limited to,
any records of any investigations under way at the time of his death, or any

investigations that have arisen after his death. Pursuant to 42 Att’y Gen. Op. 119

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and Mont. Code Ann. § 44-5-311, any confidential information or protected
information relating to any victim may be redacted.

RESPONSE: Yellowstone County has already provided the requested
information to Plaintiff's Counsel — copies of two investigative binders (including
video disks) were sent out on November 9, 2015.

REQUEST FOR PRODUCTION NO. 6: Please produce a copy of any
document, video recording including dashboard camera or body camera, audio
recording or other written materials identified in response to any discovery request
set forth herein or relating to the death of Loren Simpson on January 8, 2015.

RESPONSE: Yellowstone County has already provided the requested
information to Plaintiff's Counsel - copies of two investigative binders (including
video disks) were sent out on November 9, 2015.

REQUEST FOR PRODUCTION NO. 7; Please produce a copy of any
letter, email, fax, or other correspondence sent by any representative of the
Yellowstone County Sheriff's Office or the officer’s union to Deputy Robinson or
Deputy Rudolph following the shooting of Loren Simpson through the present day.

RESPONSE: The County is unaware of any such correspondence.

REQUEST FOR PRODUCTION NO. 8: Please produce a copy of any

letter, email, fax, or other correspondence sent by Deputy Robinson or Deputy

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Rudolph to their union or to any representative of the Yellowstone County Sherriff’s
Office at any time after the shooting of Loren Simpson through the present day.
RESPONSE: Copies of resignation letters can be found in their personnel

files. See answer to Request for Production No. 2, documents attached.

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Kevin Gillen
Deputy Yellowstone County Attorney

Dated this 25" day of November 2015,

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Verification
STATE OF MONTANA )
: SS.
County of Yellowstone _ )

I, Kevin Gillen, being duly sworn, state that I am a Deputy Yellowstone
County Attorney, the responses to the interrogatories, requests for production and
admissions are correct as far as I know and I am authorized by the Yellowstone
County Board of County Commissioners to answer the interrogatories, requests for
production and requests for admissions served on the County by the Estate of Loren
Simpson on behalf of the County and to make this verification.

Kon Wh.

Kevin Gillen
Deputy Yellowstone County Attorney

Signed and sworn to before me on this 25" day of November 2015 by Kevin Gillen.

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EA.
“Tall ic A. Elwell NOTARY PUBLIC for the
Notary Public for the State of Montana Weta ale oA ventana
Residing at Billings, Montana. ‘ creo
My commission expires: May 1, 2018

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Certificate of Service

I certify that on the date below I mailed a copy of the attached Yellowstone
County’s Discovery Responses to:

Datsopoulos, MacDonald & Lind, P.C.

Attn: Nathan G. Wagner

201 West Main Street, Suite 201

Missoula, Montana 59802

Attorney for the Estate of Loren Benjamin Simpson, et al

Dated this 25"" day of November 2015.

Aub

Kevin Gillen
Deputy Yellowstone County Attorney

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